Case 1:24-cr-O0460-CKK Document 25 Filed 10/21/24 Pagei1of7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No.: 1:24-cr-460 (CKK)

Vv. : 40 U.S.C. § 5104(e)(2)(D)
: (Disorderly Conduct in a Capitol Building
KRISTEN OLIVER CUNNINGHAM, : or Grounds)
: 40 U.S.C. § 5104(e)(2)(G)
Defendant. : (Parading, Demonstrating, or Picketing in
a Capitol Building)

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Kristen Oliver
Cunningham, with the concurrence of the defendant’s attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

l. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

Page 1 of 7
Case 1:24-cr-O0460-CKK Document 25 Filed 10/21/24 Page 2of7

November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. Officers with the D.C. Metropolitan Police
Department were called to assist officers of the USCP who were then engaged in the performance
of their official duties. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the.crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.9 million dollars for repairs.

Page 2 of 7
Case 1:24-cr-O0460-CKK Document 25 Filed 10/21/24 Page 3of7

1 Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured, The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

The Defendant’s Participation in the January 6, 2021, Capitol Riot

8. Defendant Kristen Oliver Cunningham (“Cunningham”), who lives in Humbolt
County, California, traveled to Washington, D.C. with his girlfriend Stacey Urhammer and took
part in the riot at the U.S. Capitol building.

oe At approximately 2:18 p.m., Cunningham and Urhammer illegally entered the U.S.
Capitol through the Senate Wing Doors after the crowd had breached the Senate Wing Doors
minutes earlier. Cunningham and Urhammer entered the Capito! at a point when the doors’ glass
was shattered, and building alarms were sounding. He and Urhammer both knew that they had no
authority to enter the building, and they did so in order to disrupt the proceedings in Congress that
were happening at the time. Cunningham walked to the Crypt where the police had formed an

impromptu police line to prevent rioters from advancing further toward the U.S. House of

Page 3 of 7
Case 1:24-cr-O0460-CKK Document 25 Filed 10/21/24 Page4of7

Representatives chamber. Eventually rioters in the Crypt overwhelmed the police and pushed past
them.

10. At approximately 2:28 p.m., Cunningham and Urhammer pushed themselves
against the wall to the left of the Memorial Door arch after a police line pushed the crowd back
into the area. Cunningham and Urhammer later walked through Statuary Hall where Cunningham

moved back the ropes while Urhammer appeared to record a video with her cellphone. See Figure

| and Figure 2 below

Page 4 of 7
Case 1:24-cr-0O0460-CKK Document 25 Filed 10/21/24 Page5of7

11. At approximately 2:57 p.m., Cunningham and Urhammer were still parading

around the inside of the Capito! building, walking down the hallway near the House Wing Door
after police pushed rioters out of the Memorial Door area.

12. Cunningham and Urhammer knew at the time they entered the U.S. Capitol
Building that they did not have permission to enter the building. Once inside, they willfully and
knowingly engaged in disorderly and disruptive conduct with the intent to disrupt the orderly
conduct of the joint session of Congress that day. Cunningham and Urhammer willfully and
knowingly paraded, demonstrated, and picketed within the U.S. Capitol Building.

Elements of the Offense

13. The parties agree that Disorderly Conduct in a Capitol Building or Grounds (40
U.S.C. § 5104(e)(2)(D)) requires the following elements:

a. First, the defendant engaged in disorderly or disruptive conduct in any of the United
States Capitol Buildings or Grounds.

Page 5 of 7
Case 1:24-cr-O0460-CKK Document 25 Filed 10/21/24 Page 6of7

b. Second, the defendant did so with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress.
c. Third, the defendant acted willfully and knowingly.
14. The parties agree that Parading, Demonstrating or Picketing in a Capitol Building
(40 U.S.C. § 5104(e)(2)(G)) requires the following elements:
a. First, the defendant paraded, demonstrated, or picketed in a Capitol Building.
b. Second, the defendant acted willfully and knowingly.
Defendant’s Acknowledgments
15. | The defendant knowingly and voluntarily admits to all the elements as set forth
above.
Respectfully submitted,
MATTHEW M. GRAVES

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Page 6 of 7
Case 1:24-cr-00460-CKK Document 25 Filed 10/21/24 Page 7 of 7

DEFENDANT’S ACKNOWLEDGMENT

I, Kristen Oliver Cunningham, have read this Statement of the Offense and have discussed
it with my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do this voluntarily and of
my own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

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ATTORNEY’S ACKNOWLEDGMENT

[have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.

Date: lo] [5 lay Cc. Mauchenrds

Christopher Macchiarolt
Attorney for Defendant

Page 7 of 7
